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                      EXHIBIT A

                     Proposed Order
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


    In re:                                                 Chapter 11

    FRANCHISE GROUP, INC., et al.,1                        Case No. 24-12480 (JTD)

                              Debtors.                     Re: Docket No. ___


       ORDER TERMINATING THE HOLDCO DEBTORS’ EXCLUSIVE PERIODS
       IN WHICH TO FILE CHAPTER 11 PLAN AND SOLICIT VOTES THEREON

         Upon consideration of the motion of the Ad Hoc Group of Freedom Lenders (the

“Freedom Lender Group”), pursuant to section 1121(d) of title 11 of the United States Code (the

“Bankruptcy Code”), for entry of an order terminating the exclusive periods during which the

above-captioned debtors and debtors in possession (the “Debtors”) may file a chapter 11 plan and



1
 The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification
numbers, to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225),
Freedom VCM Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM
Receivables, Inc. (0028), Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group
New Holdco, LLC (0444), American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC
(3068), Franchise Group Intermediate Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486),
Franchise Group Newco Intermediate AF, LLC (8288), American Freight Group, LLC (2066), American
Freight Holdings, LLC (8271), American Freight, LLC (5940), American Freight Management Company,
LLC (1215), Franchise Group Intermediate S, LLC (5408), Franchise Group Newco S, LLC (1814),
American Freight Franchising, LLC (1353), Home & Appliance Outlet, LLC (n/a), American Freight Outlet
Stores, LLC (9573), American Freight Franchisor, LLC (2123), Franchise Group Intermediate B, LLC
(7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising and Licensing LLC (9968), Franchise Group
Intermediate V, LLC (5958), Franchise Group Newco V, LLC (9746), Franchise Group Intermediate BHF,
LLC (8260); Franchise Group Newco BHF, LLC (4123); Valor Acquisition, LLC (3490), Vitamin Shoppe
Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin Shoppe Mariner, LLC (6298),
Vitamin Shoppe Procurement Services, LLC (8021), Vitamin Shoppe Franchising, LLC (8271), Vitamin
Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470), Franchise Group Intermediate PSP,
LLC (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies “Plus”,
LLC (5852), PSP Group, LLC (5944), PSP Service Newco, LLC (6414), WNW Franchising, LLC (9398),
WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Subco, LLC (6489),
PSP Distribution, LLC (5242), Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco
SL, LLC (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located at 109 Innovation Court,
Suite J, Delaware, Ohio 43015.

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solicit acceptances thereof (the “Motion”),2 and this Court having jurisdiction to consider the

Motion pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference

from the United States District Court for the District of Delaware, dated February 29, 2012; and

this Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and that

this Court may enter a final order consistent with Article III of the United States Constitution; and

this Court having found that venue of this proceeding and the Motion in this District is proper

pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that proper and adequate

notice of the Motion has been given and that no other or further notice is necessary; and objections

(if any) to the Motion having been withdrawn, resolved or overruled on the merits; and a hearing

having been held to consider the relief requested in the Motion and upon the record of the hearing

and all of the proceedings had before this Court; and this Court having found and determined that

the relief sought in the Motion is in the best interests of the HoldCo Debtors, their estates, creditors,

and all parties in interest, and that the legal and factual bases set forth in the Motion establish just

cause for the relief granted herein; and after due deliberation and sufficient cause appearing

therefor,

IT IS HEREBY ORDERED THAT:

          1.      The Motion is GRANTED.

          2.      The HoldCo Debtors’ exclusive periods to file and solicit votes on a chapter 11 plan

are hereby terminated.

          3.      Notwithstanding any other Bankruptcy Rules or any other applicable rule or

guideline, the terms and conditions of this Order are immediately effective and enforceable upon

its entry.


2
    Capitalized terms used but not defined herein have the meanings ascribed to them in the Motion.

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       4.      This Court shall retain exclusive jurisdiction to hear and determine all matters

arising from or related to the implementation, enforcement, or interpretation of this Order.




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